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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re
                                                 Chapter 11
NEW CENTURY TRS HOLDINGS,
                                                 Case No. 07-10416-KJC
                       Debtor.


                     ORDER TERMINATING AUTOMATIC STAY
                  UNDER SECTION 362 OF THE BANKRUPTCY CODE
                            (relates to Docket No. ____)

        UPON CONSIDERATION of the Motion for Relief from Automatic Stay Under Section

362 of the Bankruptcy Code (the “Motion”) filed by U.S. Bank N.A. as Trustee c/o Ocwen Loan

Servicing, LLC (“Movant”), and any response thereto; the Court having determined that (A) the

Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and 1334; (B) this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); (C) venue is proper pursuant to 28 U.S.C. §

1409(a); and (D) service to the limited parties stated on the Certificate of Service is adequate

under the circumstances; and the Court having further determined that the Debtor does not have

an interest in each parcel of real property listed on Exhibit A hereof (each a “Property,” and

collectively, the “Properties”) and that the Debtor’s interest in each of the Properties, if any, is

not necessary to an effective reorganization; and the Court having further determined that cause

exists to grant Movant relief from the automatic stay with respect to the Properties because

Movant’s interest in the Properties is not adequately protected; it is hereby ORDERED as

follows:

        1.     The Motion is hereby GRANTED. All capitalized terms not otherwise defined

herein shall have the respective meanings set forth in the Motion.
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        2.     Pursuant to 11 U.S.C. § 362(d), Movant is hereby granted relief from the

automatic stay, and the automatic stay is terminated, with respect to Movant’s interest in the

Properties. Movant is hereby permitted to exercise its rights under applicable non-bankruptcy

law against each of the Properties, including but not limited to foreclosure of any Mortgage

relating to such Properties.

        3.     This Order is immediately effective and is not stayed by operation of law,

notwithstanding the stay provisions of Fed. R. Bankr. P. 4001(a)(3).



Date:
        Wilmington, Delaware                HONORABLE KEVIN J. CAREY
                                            UNITED STATES BANKRUPTCY JUDGE




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